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          Motion for Settlement Conference
                                     Willie Lee HavMmeri, Plaintiff
                                                  vs.
                                  Methodist Health Systems, Defendant

                                    Case No. 3:22-cv-00594-E-BT

                  U.S. District Court Northern District of Texas (Dallas)

Assigned Judge: Ada Brown
Magistrate Judge: Rebecca Rutherford
Defendant’s Legal Team: Ogletree Deakins Nash Smoak & Stewart PC
(Employment Law Firm – Dallas, Texas)
Cause: 42:1983 Civil Rights (Employment Discrimination)
Nature of Suit: 442 Civil Rights: Employment
Date Filed: 03/14/2022

Today’s Date: July 7th, 2023

Greetings Judge Ada Brown

I wish to present an option that may be mutually beneficial to all parties involved.
These parties would be:
    1. Myself, as the plaintiff (Willie Lee HavMmeri)
    2. The Defendant, and their legal team (Methodist)
    3. The U.S. District Courts, both the Magistrate and Assigned Judge

This option would be Settlement, in lieu of Dismissal pending.
    1. As the plaintiff, I can finally move on with my life being compensated for clearly pointing
       out gender bias and getting fired for it.
    2. The Defendant, Methodist, can close these matters quietly and with peaceful discretion.
    3. The Honorable Judge Ada Brown does not have to overrule her Magistrate Judge
       Rutherford and the recommendation for Dismissal (while the Magistrate Judge clearly
       never addressed the Termination Letter as wrongful nor the Covid Pandemic in regards
       to the FRCP (rule 6) on the inaccessibility of the Clerks office as a valid argument for the
       180 day rule.



All I’ve asked is that the Defendant, Methodist, compensate me for my wrongful termination.
I do not wish for Methodist to become the face of Gender Discrimination in this post covid
world. I apologize that this case has made it to the U.S. District Court in Dallas but it’s here.
Justice is being sought.
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Summary of Case History
On March 14th 2022, I filed my Suit with the U.S. District Courts (Dallas). This was almost a full 2
years after being fired for stealing time (April 2020). While failing to properly articulate my case
initially, I was granted a waiving of the filing fees and given a default judgment order which was
rescinded 2 days later after the Defendant decided to participate in this case.

While I’ve stressed the dire nature of my circumstances, from being wrongfully terminated due
to retaliation for trying to have gender discrimination investigated, it has been a struggle to feel
like my voice actually matters in these proceedings.

As a man, I had to build up the courage to seek justice within the confines of my employment
with the Defendant. I thought to myself as I sent my Director in the chain of command my
concerns that I may be the one punished in the matters due to the nature of what I was asking
to be investigated. This is why I stressed that none of the parties mentioned (including my
Director) be punished and that we all receive additional training. Despite not receiving a
meeting with the parties I requested to lead my grievance investigation, I was cooperative and
polite with Human Resources and placed faith in the process to address my concerns regarding
Gender.

When I was informed by the Defendant, I was being fired, I smiled. I stayed professional. I
conducted myself with dignity and class, despite my humiliation and abrupt termination. I was
able to remain calm because I truly believed, I just needed to get this Defendant before any
Judge and it would be clear that I was severely wronged in the matters.

With that said, 3 years later, I now believe that NOBODY CARES. Nobody cares that a man can
be routinely ridiculed, humiliated and suffer workplace violence, while gainfully employed.
Literally being bullied on the clock. Methodist clearly doesn’t care and that’s fine. But the TWC
didn’t care. I only received a favorable verdict because of a technicality (the terminable
offenses regarding frequenting the hospital gym were too dated in time to be considered an
appropriate factor for termination and Methodist abandoned their defense of the social media
evidence because… well… it was from social media).

After the Texas Workforce Commission, my EEOC claim had finally worked it’s way through the
clogged pipeline of cases and an investigator asked both sides what happened. After hearing
the Defendant’s complete Position Statement in 2021, I realized they had no evidence I ever
stole time, as alleged on the termination letter. I pointed this out.

None the less, the EEOC Investigator concluded that I did, in fact, steal time and dismissed my
claim with a “Right to Sue”. I truly believe the investigator never read my rebuttal to the
Methodist Position Statement.
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Which brings me to the U.S. District Court and before the Honorable Judge Brown and
Magistrate Judge Rutherford. Here is my humble suggestion as to how we can conclude this
case where there are no losers and everyone can move on with dignity and respect.

Request for Settlement Conference, with Dismissal Pending
I believe Judge Brown is in a difficult position, from my personal vantage.

If anyone had to get the short end of the stick in regards to a less than favorable judgement, it
would make very little sense for it to be the Defendant, a large public employer and a beacon of
light and opportunity in our city of Dallas. I want to state that since my termination, I have
always reached out to the Defendant to come in and tell my story and settle the matter quietly,
quickly and peacefully. Please keep in mind that I was fired for stealing time and have a very
difficult time finding gainful employment with such an unfortunate disposition.

If someone had to get the short end of the stick in this case, it would not be Ogletree Deakins
Nash Smoak & Stewart PC (as the 3rd group of lawyers I’ve faced over 3 years). This Employment Law
Firm has literally sent a lawyer with his name on the building to contest me, a pro se litigant.

In regards to the Magistrate Judge, Judge Rutherford, receiving the short end of the stick in this case,
personally, I find it extremely difficult to imagine a fellow Judge overruling the recommendations of
their own Magistrate Judge yet that’s the best case scenario from my vantage. Again, I find it highly
unlikely at this point.

So with the Defendant’s offer for Dismiss and the Magistrate Judge’s recommendation in agreeance, I
offer an alternative option which is a settlement conference, with Dismissal pending. This means the
Magistrate Judge will get the dismissal she has recommended, Methodist can cease sending resources
towards this legal battle and I can finally gain closure with appropriate compensation for my pain,
suffering and mental anguish, lost wages and benefits, due to this gross injustice. Willfully and
intentionally carried out by the Defendant.

I wish to stress that I will continue my efforts to receive just until I die, if I have to. My hopes is that, if I
never receive justice, 50 years from now (when society stops shaming and devaluing men for daring to
complaining), someone will read my case documents and clearly see I’m the one who got the short end
of the stick. Not because I’m wrong in this case. I will only lose this case because I’m not a professional
lawyer, representing a wrongfully terminated client. I don’t know when and when not to submit a
document. I don’t know when I should file the appropriate motions and the proper use of laws, statutes
and case examples.

I’m only losing this case because I lack the financial ability to pay a proper legal representative. The
reason I can not afford a legal representative is clearly due to the Defendant’s actions. My multiple
request for legal assistance has been denied at each turn. My best option is to seek settlement and
move on with my life.
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Conclusion
Since justice seems to be unavailable to me, I request a settlement in lieu of dismissal pending. Should
the Defendant and myself sit down and settle these matters on our own, dismissal ends this case.
Should we continue to be opposed to settlement after conference, we move on to trial. From the
beginning of these legal matters, I’ve tried my best to get the Defendant in a room and settle this matter
quietly. The Court is in a position to allow such a meeting.

Methodist gets a wrongfully terminated former employee to conclude legal proceedings.
Magistrate Judge gets her recommendation of dismissal awarded, with settlement conference.
Assigned Judge no longer has the unfortunate position of dismissing such a clear case of wrongful
termination.

Nobody loses with my suggestion.
I’m ready to move on with my life.
Dismissal without trial nor settlement under these circumstances only emboldens my efforts to seek
justice.
Please, I ask the Court to allow all parties to move on and settle these matters quietly and with peaceful
discretion.




Respectfully submitted,

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”

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